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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                   AT WICHITA, KANSAS

DECARLO BELL,

                 Plaintiff,

-vs-                                                    Case No.       21-CV-01007

BEDFORD TRANSPORTATION, LTD, a
foreign limited corporation; BEDFORD INDUSTRIES,
INC., a foreign corporation; and STEPHEN WESLEY
GASKINS, II, an individual,

                 Defendants.


                       STIPULATION OF DISMISSAL WITH PREJUDICE

          Plaintiff, by and through counsel of record Bradley A. Pistotnik and Jay Sizemore of Brad

Pistotnik Law, P.A. There are no other appearances and no responsive pleading has been filed in this

matter.
          Plaintiff advises the Court that he has reached a settlement agreement and by the stipulation

of the parties should be dismissed with prejudice with all parties responsible for their own costs

and attorneys’ fees.



BRAD PISTOTNIK LAW, P.A.

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